Case 3:16-cv-00467-SMY-RJD Document 196 Filed 09/28/18 Page 1 of 16 Page ID #5327



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS


   SHEILAR SMITH, et al., On Behalf of             )
   Themselves and All Others Similarly             )
   Situated, and On Behalf of the OSF Plans        )
                                                   )
                         Plaintiffs,               )   Case No. 16-CV-467-SMY-RJD
                                                   )
   vs.                                             )
                                                   )
   OSF HEALTHCARE SYSTEM, et al.,                  )
                                                   )
                         Defendants.               )


                              MEMORANDUM AND ORDER

          This matter is before the Court for consideration of Defendants’ Motion for Summary

   Judgment (Doc. 147). Plaintiffs filed a Response (Doc. 191) and Defendants filed a Reply (Doc.

   194). For the following reasons, the motion will be GRANTED.

                                         INTRODUCTION

          Defendant OSF Healthcare System (“OSF”) is an Illinois 501(c)(3) non-profit

   corporation, founded by The Sisters of the Third Order of St. Francis (“St. Francis Order”).

   (Defendants’ Memorandum in Support of Defendants’ Motion for Summary Judgment, Doc. 148

   at 8-9). OSF operates eleven acute care hospitals, home health care services and other health

   care facilities in Illinois and Michigan. OSF has defined-benefits plans covering its own direct

   employees (“St. Francis Plan”) and employees of the recently-acquired St. Anthony’s Health

   Center (“St. Anthony’s Plan”).

          Defendant Retirement Committee for the Retirement Plan for Employees of Saint

   Anthony’s Health Center (“St. Anthony’s Committee”) is the administrator of the St. Anthony’s



                                             Page 1 of 16
Case 3:16-cv-00467-SMY-RJD Document 196 Filed 09/28/18 Page 2 of 16 Page ID #5328



   Plan. Defendant Sisters of the Third Order of St. Francis Employees Pension Plan Administrative

   Committee (“St. Francis Committee”) is the administrator of the St. Francis Plan.

           Plaintiffs Sheilar Smith and June Schwierjohn were employed at Saint Anthony’s Health

   Center (“SAHC”) until 2015 and 2016 respectively. Both are vested participants in the St.

   Anthony’s Plan. Plaintiffs Kasandra Anton, Bonnie Bailey, and Peggy Wise were employed by

   OSF and are vested participants in the St. Francis Plan.

           This case involves claims asserted under the Employee Retirement Income Security Act

   of 1974 (“ERISA”), Pub.L. 93–406, 88 Stat. 840 as amended. Specifically, Plaintiffs claim OSF

   and related entities have improperly treated the St. Anthony’s Plan and St. Francis Plan

   (collectively, “the Plans”) as “church plans” exempt from the requirements of ERISA. Plaintiffs

   allege that as a result, OSF has failed to fund the Plans’ trust accounts to the levels required

   under ERISA to cover all accrued benefits, that the defendants failed to follow certain notice,

   disclosure and managerial requirements, and that the defendants have breached their fiduciary

   duties. (Fourth Amended Complaint, Doc. 138 at 41-56). 1 Plaintiffs also assert a claim for

   declaratory judgment, seeking a declaration that the church plan exemption as applied violates

   the Establishment Clause of the First Amendment, and is therefore unconstitutional. (Id. at 56-

   60).

                                                      BACKGROUND

           OSF is a nonprofit healthcare system. (Doc. 138, ¶¶ 17, 32). In 1880, the Sisters of the

   Third Order of St. Francis, an order of Franciscan sisters, incorporated as an Illinois nonprofit

   under the name “Sisters of the Third Order of St. Francis,” with the stated objective of

   “conducting hospitals” (Doc. 150-1 at 1-6). The name of the corporation was changed to OSF

   1
     Plaintiffs Fourth Amended Complaint added five “alternative” causes of action “for relief under State law if the
   Court determines that the OSF Plans are ‘church plans’ exempt from ERISA.” (Docs. 120 and 138 at n. 4). These
   state law claims were subsequently dismissed. (Doc. 142).

                                                      Page 2 of 16
Case 3:16-cv-00467-SMY-RJD Document 196 Filed 09/28/18 Page 3 of 16 Page ID #5329



   Healthcare System in 1989, and the St. Francis Order formed a new Illinois nonprofit corporation

   named The Sisters of the Third Order of St. Francis (“STOSF”) to “serve as an integral part of

   the Roman Church and to carry out its mission; [and] to carry on the corporal works of the mercy

   of the Roman Catholic Congregation of Sisters.” (Declaration of Sister Diane Marie McGrew,

   President of OSF, Doc. 150 at ¶¶11; Doc. 150-1 at 10-14; Doc. 150-4 at 2-6, 26). The Sisters in

   the St. Francis Order are the only members of STOSF, which in turn is the sole member of OSF.

   (Doc. 150 at ¶ 9; Doc. 150-3 at 3). STOSF’s authority over OSF is governed by OSF’s

   governing documents and the canonical and civil guidelines pertaining to Church properties.

   (Doc. 150-3 at 5). In 2014, SAHC, a nonprofit Catholic hospital operated by The Sisters of St.

   Francis of the Martyr of St. George in Thuine (“St. George Order”), merged into OSF with the

   permission of the applicable Roman Catholic Church department and the endorsement of the

   Bishop of Springfield. (Doc. 150 at ¶¶ 18-21; Doc. 150-6 at 11-14; Doc. 150-7).

          OSF requires that its President and a majority of its Board of Directors be Sisters. (Doc.

   150-3 at 5, 11). All directors (including lay members) are required to meet certain qualifications,

   including “Commitment to the Philosophy, Mission, Values and Vision of [STOSF,]” and

   “Commitment to uphold the Catholic Code of Ethics in all dealings and deliberations pertaining

   to the Board’s responsibilities.” (Id. at 5-6).   Among the powers reserved to STOSF (as sole

   member of OSF) is the power to appoint, approve or remove OSF’s chairperson, vice-

   chairperson, chief executive officer, president, chief medical officer/chief clinical officer,

   regional CEOs, and operating division presidents and CEOs. (Id. at 3-4). STOSF also has the

   power to “approve the introduction or termination of value sensitive ministries or services, and to

   eliminate services or activities which are in conflict with the philosophy and




                                              Page 3 of 16
Case 3:16-cv-00467-SMY-RJD Document 196 Filed 09/28/18 Page 4 of 16 Page ID #5330



   purposes of the established ministry.” (Id. at 5). In the event OSF is dissolved, its assets revert to

   STOSF. (Id. at 3). OSF is recognized as a Catholic institution in the Official Catholic Directory.

   (Doc. 149-7 at 6). Its bylaws provide that any Medical Staff Bylaw or Rule is invalid if it

   conflicts with the Ethical and Religious Directives for Catholic Health Care Services (“ERDs”)

   promulgated by the United States Conference of Catholic Bishops. (Doc. 150-3 at 20-21).

          Both Plans at issue in this case are sponsored by OSF. (Docs. 138 and 140, ¶¶ 56-57, 72-

   74). The St. Francis Plan has approximately 18,000 participants, and the St. Anthony’s Plan has

   approximately 1,300 participants. (Declaration of April M. Rowe, OSF Manager of Employee

   Benefits, Doc. 153 at ¶¶ 8, 9). Sixty participants in the St. Francis Plan are employed by for-

   profit entities; none of the St. Anthony’s Plan participants are employed by for-profit entities.

   (Declaration of Amanda Lowry, Vice President Controller of OSF, Doc. 159 at ¶¶ 3, 5).

          The St. Francis Plan is “administered and maintained” by the St. Francis Committee,

   whose members are appointed by the OSF Board of Directors (the majority of which is made up

   of St. Francis Order Sisters), and the majority of committee members must be Sisters. (Doc.

   153-1 at 63)    Currently, the Committee consists of seven voting members, four of whom are

   Sisters. (Doc. 150 at ¶ 27). The Committee is designated as the Plan Administrator and has “the

   power and discretion to determine all questions arising in connection with the administration,

   interpretation and application of the Plan.”         (Doc. 153-1at 63-64).        The Committee’s

   determinations are considered “conclusive and binding[.]” (Id. at 64). The Committee also

   holds “all powers necessary or appropriate to accomplish its duties under [the] Plan [and]

   [e]xcept as otherwise provided in [the] Plan, the Committee shall have full and complete

   authority, responsibility, and control in its sole and absolute discretion over the management,

   administration and operation of the Plan[.]” (Id.). Those powers include the determination of



                                                Page 4 of 16
Case 3:16-cv-00467-SMY-RJD Document 196 Filed 09/28/18 Page 5 of 16 Page ID #5331



   eligibility to receive Plan benefits, computation and certification to OSF and the trustee of the

   amounts “necessary or desirable to be contributed to the Plan,” and the administration of the

   Plan’s claims procedures and claims review procedures. (Id. at 64-65). Under the St. Francis

   Plan, benefits “shall not be paid unless the [St. Francis Committee], in its discretion, determines

   that the Claimant is entitled to them.” (Id. at 65). The Committee is separately empowered to

   “adopt such rules and decisions as it deems necessary or desirable.” (Id. at 65). OSF has

   authority to amend the Plan, although any amendment that affects the rights, duties or

   responsibilities of the St. Francis Committee (other than its removal) must have the Committee’s

   written consent. (Id. at 70).

          The St. Anthony’s Committee is similarly charged with administering the St. Anthony’s

   Plan, and “shall have all discretionary powers and authority necessary to carry out the provisions

   of the Plan.” (Doc. 153-2 at 50, 53). Its members are the same as those of the St. Francis

   Committee – seven voting members, four of whom are St. Francis Order Sisters. (Doc. 150 at ¶

   27). “Any action or determination or decision whatsoever taken or made by the [St. Anthony’s

   Committee] in good faith shall be final, binding and conclusive upon all persons concerned,

   including but not limited to the Employer, Employees and former Employees, Participants and

   former Participants and their spouses and Beneficiaries.” (Doc. 153-2 at 52). The St. Anthony’s

   Committee is responsible for Plan interpretation, benefit determinations, the claims process, and

   revision of the Plan to correct errors to effectuate the intent of the Plan. (Id. at 50-53). However,

   the St. Anthony’s Committee cannot otherwise modify the Plan without the express consent of

   the employer’s Board. (Id. at 52).




                                               Page 5 of 16
Case 3:16-cv-00467-SMY-RJD Document 196 Filed 09/28/18 Page 6 of 16 Page ID #5332



                                            DISCUSSION

          Defendants move for summary judgment on two bases: that the Plans properly qualify for

   the church plan exemption and are therefore not subject to the ERISA requirements which

   underpin the claims in Counts I-VIII; and that the church plan exemption is not unconstitutional

   as alleged in Count IX.     Summary judgment is appropriate only if the moving party can

   demonstrate “that there is no genuine dispute as to any material fact and the movant is entitled to

   judgment as a matter of law.” FED. R. CIV. P. 56(a); Celotex Corp. v. Catrett, 477 U.S. 317,

   322(1986); see also Ruffin-Thompkins v. Experian Information Solutions, Inc., 422 F.3d 603, 607

   (7th Cir. 2005). The moving party bears the initial burden of demonstrating the lack of any

   genuine issue of material fact. Celotex, 477 U.S. at 323. Once a properly supported motion for

   summary judgment is filed, the adverse party “must set forth specific facts showing there is a

   genuine issue for trial.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250 (1986).

          A genuine issue of material fact exists when “the evidence is such that a reasonable jury

   could return a verdict for the nonmoving party.” Estate of Simpson v. Gorbett, 863 F.3d 740,

   745 (7th Cir. 2017) (quoting Anderson, 477 U.S. at 248). When deciding a summary judgment

   motion, the Court views the facts in the light most favorable to, and draws all reasonable

   inferences in favor of, the nonmoving party. Apex Digital, Inc. v. Sears, Roebuck & Co., 735

   F.3d 962, 965 (7th Cir. 2013) (citation omitted).

          As an initial matter, Plaintiffs argue that Defendants’ motion for summary judgment was

   filed prematurely. F.R.C.P. 56(d) permits, but does not require, the Court to defer consideration

   of a summary judgment motion or to allow additional time for discovery, among other options.

   While there are numerous areas of inquiry that Plaintiffs state they would have explored prior to

   the filing of summary judgment motions, those pertinent to the instant motion have been at issue



                                              Page 6 of 16
Case 3:16-cv-00467-SMY-RJD Document 196 Filed 09/28/18 Page 7 of 16 Page ID #5333



   from the outset of this case. Although Defendants’ filed for summary judgment well before the

   extended discovery deadline, Plaintiffs had ample time and opportunity to conduct discovery

   relevant to the issues raised in Defendants’ motion. As such, the Motion is not premature.

                     Do the Plans Qualify for the ERISA Church Plan Exemption?

      ERISA exempts “church plans” from its requirements. 29 U.S.C. § 1003(b)(2). Originally,

   the statute defined a church plan as “a plan established and maintained ... for its employees ... by

   a church or by a convention or association of churches.” 29 U.S.C. § 1002(33)(A). In 1980,

   Congress passed the Multiemployer Pension Plan Amendments Act of 1980 (“MPPAA”), Pub.

   L. No. 96-364, § 407, 94 Stat. 1208 (1980), which amended the statute by expanding the scope

   of the church plan exemption. Under the amended statute, “an ‘employee of a church’ includes

   an employee of a church-affiliated organization[.]” Advocate Health Care Network v. Stapleton,

   137 S. Ct. 1652, 1656, (2017) (citing 29 U.S.C. § 1002(33)(C)(ii)(II)). The amendment also

   expanded the scope of the church plan exemption to include:

                  A plan established and maintained for its employees ... by a church or by a
                  convention or association of churches includes a plan maintained by an
                  organization ... the principal purpose or function of which is the
                  administration or funding of a plan or program for the provision of
                  retirement benefits or welfare benefits, or both, for the employees of a
                  church or a convention or association of churches, if such organization is
                  controlled by or associated with a church or a convention or association of
                  churches. 29 U.S.C. § 1002(33)(C)(i).

          For purposes of defining church plans, “employees of a church” include “an employee of

   an organization, whether a civil law corporation or otherwise, which is exempt from tax under

   section 501 of Title 26 and which is controlled by or associated with a church or a convention or

   association of churches.” 29 U.S.C. § 1002(33)(C)(ii)(II).       Thus, the term “employee of a

   church” includes employees of nonprofit organizations controlled by or associated with a church.




                                               Page 7 of 16
Case 3:16-cv-00467-SMY-RJD Document 196 Filed 09/28/18 Page 8 of 16 Page ID #5334



             In its recent decision in Advocate, the Supreme Court concluded that the church plan

   exemption applies to certain Plans not established by a church. Specifically, the Court found that

   “[u]nder the best reading of the statute, a plan maintained by a principal-purpose organization ...

   qualifies as a ‘church plan,’ regardless of who established it.” Advocate, 137 S.Ct. at 1663.

             Following Advocate, courts have engaged in a three-step inquiry in order to determine

       whether the church plan exemption applies to Plans maintained by principal-purpose

       organizations:

             1. Is the entity whose employees the plan benefits a tax-exempt nonprofit
                organization associated with a church?

             2. If so, is the entity’s retirement plan maintained by a principal-purpose
                organization? That is, is the plan maintained by an organization whose
                principal purpose is administering or funding a retirement plan for entity
                employees?

             3. If so, is that principal-purpose organization itself associated with a church?

   Medina v. Catholic Health Initiatives, 877 F.3d 1213, 1222 (10th Cir. 2017). 2 This Court

   will employ this approach.

                  1. Is OSF a Nonprofit Organization Associated With a Church?

              The entity whose plan is being maintained must be both a tax-exempt nonprofit and

   associated with a church, because “[t]he term employee of a church or a convention or

   association of churches includes [ ] an employee of an organization..., which is exempt from tax

   under [26 U.S.C. § 501] and which is controlled by or associated with a church or a convention

   or association of churches[.]” 29 U.S.C. § 1002(33)(C)(ii)(II). Plaintiffs concede that OSF is a

   nonprofit organization, and that St. Anthony’s Health Center was a nonprofit entity prior to its

   acquisition by OSF. (Plaintiffs’ Opposition to Defendants’ Motion for Summary Judgment, Doc.


   2
    While not binding precedent, the Tenth Circuit’s Opinion is well-reasoned and essentially “on all fours” with this
   case. As such, the Court considers it very persuasive.

                                                     Page 8 of 16
Case 3:16-cv-00467-SMY-RJD Document 196 Filed 09/28/18 Page 9 of 16 Page ID #5335



   191 at 11). What remains in dispute is whether OSF is “associated with” the church under the

   statute.

              The term “associated with a church or convention or association of churches” refers to an

   organization that “shares common religious bonds and convictions with that church or

   convention or association of churches.” 29 U.S.C. § 1002(33)(C)(iv). Here, the undisputed facts

   demonstrate that OSF “shares common religious bonds and convictions” with the Catholic

   Church. As previously noted, STOSF (whose membership is limited to Sisters) is the sole

   member of OSF. In addition to numerous references to Catholicism throughout its statements of

   values, OSF has incorporated Roman Catholic doctrine into its basic structure, including the

   qualification for directorship and the automatic invalidation of any medical bylaw or rule that

   conflicts with the ERDs formulated by the United States Conference of Catholic Bishops. OSF

   is listed in the Official Catholic Directory, which “[c]ourts view…as a public declaration by the

   Roman Catholic Church that an organization is associated with the Church.”               Overall v.

   Ascension, 23 F. Supp. 3d 816, 831 (E.D. Mich. 2014) (collecting cases). OSF’s “convictions”

   are evidenced by references to the doctrine, norms and dictates of the Roman Catholic Church,

   and the Catholic Church acknowledges OSF as an associated organization. These facts reflect

   shared bonds and convictions and satisfy the statutory requirement that OSF be “associated with”

   a church or a convention or association of churches. See also Hall v. USAble Life, 774 F. Supp.

   2d 953, 960 (E.D. Ark. 2011).

              The Court acknowledges Plaintiffs’ urging for it to adopt the Fourth Circuit’s “objective

   test” for determining whether an organization is “associated with a church or convention or

   association of churches.” In Lown v. Cont'l Cas. Co., 238 F.3d 543, 548 (4th Cir. 2001), the

   Fourth Circuit held that “[i]n deciding whether an organization shares such common bonds and



                                                 Page 9 of 16
Case 3:16-cv-00467-SMY-RJD Document 196 Filed 09/28/18 Page 10 of 16 Page ID #5336



   convictions with a church, three factors bear primary consideration: 1) whether the religious

   institution plays any official role in the governance of the organization; 2) whether the

   organization receives assistance from the religious institution; and 3) whether a denominational

   requirement exists for any employee or patient/customer of the organization.” The Eighth

   Circuit subsequently found the test “useful.” Chronister v. Baptist Health, 442 F.3d 648, 653

   (8th Cir. 2006).     This Court finds it less so. The existence of any of the three Lown

   considerations would certainly indicate institutional control.        But “common bonds and

   convictions” entail something more. The Court agrees with the Tenth Circuit’s assessment that

   the Lown factors “are much narrower than the broad language of the definition in §

   1002(33)(C)(iv)” and therefore do not suffice as an exclusive test for association. Medina, 877

   F.3d at 1224.

          Plaintiffs also raise one of the affirmative exclusions from the definition of a church plan;

   disqualifying a plan “if less than substantially all of the individuals included in the plan” are

   employees of a church or are deemed employees of a church. 29 U.S.C. §1002(33)(B)(ii).

   Employees of a nonprofit organization controlled by or associated with a church are deemed

   employees of the church. Defendants assert (and Plaintiffs do not dispute) that all of the

   employees covered by the St. Anthony’s Plan and all but 60 employees out of the approximately

   18,000 covered by the St. Francis Plan are employees of OSF’s nonprofit ventures. 99.6%

   certainly constitutes “substantially all.” Therefore, the Plans are not excluded from the church

   plan definition on that basis.

                        2. Are the Plan Committees principal-purpose organizations?

          A principal-purpose organization is one whose “principal purpose or function ... is the

   administration or funding of a plan or program for the provision of retirement benefits or welfare



                                              Page 10 of 16
Case 3:16-cv-00467-SMY-RJD Document 196 Filed 09/28/18 Page 11 of 16 Page ID #5337



   benefits, or both, for the employees of a church.” 29 U.S.C. § 1002(33)(C)(i). “Organization” is

   not a defined term under the statute. However, in defining “associated with,” the statute provides

   that organizations may qualify “whether a civil law corporation or otherwise[.]” 29 U.S.C. §

   1002(33)(C)(iv). This suggests that principal purpose organizations need not be a separate,

   legally independent entity, and is consistent with the ordinary meaning of the term.

          Black's Law Dictionary defines “organization” as “a body of persons (such as a union or

   corporation) formed for a common purpose.” Organization, Black's Law Dictionary (10th ed.

   2014). Similarly, the Oxford English Dictionary defines it as “[a]n organized body of people

   with a particular purpose, as a business, government department, charity, etc.” Organization,

   Oxford English Dictionary (Third ed. 2004). Neither of these definitions lead one to conclude

   that an organization must be legally separate from any other entity.            Several courts have

   interpreted the term in this manner and concluded that internal, non-independent subcommittees

   may qualify as “organizations” for purposes of the ERISA church plan exemption. See Medina,

   877 F.3d at 1226; Sanzone v. Health, No. 4:16 CV 923 CDP, 2018 WL 4071897, at *7 (E.D. Mo.

   Aug. 27, 2018); and Thorkelson v. Publ'g House of Evangelical Lutheran Church in Am., 764 F.

   Supp. 2d 1119, 1127 (D. Minn. 2011). This Court joins them and finds that the Plan Committees

   are organizations for purposes of the Court’s analysis.

          Next, Plaintiffs challenge whether the Plan Committees actually “maintain” the Plans. It

   is undisputed that the Plan Committees are the administrators of the Plans. (Docs. 138 and 140

   at ¶¶ 101-104, 106-108). Nevertheless, Plaintiffs contend that OSF and SAHC (presumably

   before the acquisition) – not the Plan Committees – actually maintain the Plans.              More

   particularly, they argue that maintaining a Plan necessarily includes the power to modify or

   terminate it (powers that are at least partially reserved to OSF) as well as funding it.



                                               Page 11 of 16
Case 3:16-cv-00467-SMY-RJD Document 196 Filed 09/28/18 Page 12 of 16 Page ID #5338



           These arguments were considered and rejected in Medina, 877 F.3d at 1224–25, and by

   District Judge Catherine Perry of the Eastern District of Missouri in Sanzone, 2018 WL 4071897,

   at *5. Both found that the “ordinary meaning” approach to interpreting the term “maintain” is

   appropriate, and found that the ordinary meaning did not require the power to modify or

   terminate the plan in order for an entity to be said to maintain it. “Maintain” has several

   definitions in Black’s Law Dictionary, the most applicable one being “[t]o care for (property) for

   purposes of operational productivity or appearance; to engage in general repair and upkeep.”

   Maintain, Black's Law Dictionary (10th ed. 2014).                    Merriam-Webster's similarly defines

   “maintain” as “to keep in an existing state (as of repair, efficiency, or validity)”; “to continue or

   persevere in”; “sustain”; and “to support or provide for.” Maintain, Merriam-Webster's II

   Collegiate Dictionary (10th ed. 2002). In holding that a subcommittee did “maintain” the Plan

   in question, the Medina court concluded, “when ERISA says that a church plan includes a plan

   ‘maintained’ by a principal-purpose organization, 29 U.S.C. § 1002(33)(C), it simply means the

   principal-purpose organization, as Black’s says, ‘cares for the plan for purposes of operational

   productivity.’ And this is precisely the point of the Subcommittee.” Medina, 877 F.3d at 1225.

   The Court agrees. 3

           The Plan Committees have authority over the Plans sufficient to meet the ordinary

   meaning of “maintaining” the Plans. The Committees are each given significant power and

   control over the interpretation of the Plans, the eligibility of claimants, entitlement to benefits, as




   3
    Plaintiffs point to a recent ruling from the Northern District of California in Rollins v. Dignity Health, 2018 WL
   4262334 (N.D. Cal. Sept. 6, 2018), disagreeing with Medina on the issue of whether “maintain” requires something
   more than its ordinary meaning. 2018 WL 4262334, at *6. The court there (and the Plaintiffs here) considered use
   of the ordinary meaning of “maintain” as synonymous with “administer” to render the term surplussage. Neither
   Plaintiffs nor the court in Rollins, however, discuss what the term “administer” means, rendering their discussion
   about whether “maintain” means something more than “administer” a sterile exercise.


                                                     Page 12 of 16
Case 3:16-cv-00467-SMY-RJD Document 196 Filed 09/28/18 Page 13 of 16 Page ID #5339



   well as rule-making authority. This degree of authority is consistent with “caring for the Plans

   for purposes of operational productivity.”

           Plaintiffs also suggest that the Plan Committees do not have “primary ongoing

   responsibility (and potential liability) to plan participants [,]” and therefore they do not

   “maintain” the Plans. (Doc. 191 at 18) (citing Advocate, 137 S. Ct. at 1661). The record in this

   case, however, belies this suggestion. Both Plans entrust decisions about participant claims,

   eligibility and benefits to their respective Plan Committee, including the eligibility of an

   employee, beneficiary or other person to receive Plan benefits, as well as the interpretation of

   Plan provisions and the administration of claims procedures. The St. Francis Plan specifically

   states that “Benefits under the Plan shall not be paid unless the [St. Francis Committee], in its

   discretion, determines that the Claimant is entitled to them.” (Doc. 153-1 at 65). These are

   central responsibilities that may give rise to claims for the wrongful denial of benefits. The

   interpretation advocated by Plaintiffs, which necessitates the inclusion of plan funding and the

   power to modify or terminate the Plan, is simply too narrow. One may be appointed caretaker to

   maintain a property without the authority to burn it to the ground, build an addition or sell it. 4

                              3.   Are the Plan Committees Associated with a Church?

           Whether the Plan Committees themselves are sufficiently associated with a church rests

   on ERISA’s definition of the term “associated with”; “shar[ing] common religious bonds and

   convictions with that church or convention or association of churches.”                          29 U.S.C. §

   1002(33)(C)(iv). In that vein, the Plan Committees are tightly connected with the Roman

   Catholic Church.       They are both dominated by members of a recognized Roman Catholic


   4
     Plaintiffs infer that the Plan Committees do not actually maintain the Plans, because the minutes appear to show
   that they meet infrequently and briefly. But the question is not whether the Plan Committees are doing their jobs
   well or excessively delegating their authority, but rather whether the structure satisfies the requirements of the
   church plan definition.

                                                    Page 13 of 16
Case 3:16-cv-00467-SMY-RJD Document 196 Filed 09/28/18 Page 14 of 16 Page ID #5340



   religious order. Moreover, to the extent the Plan Committees are internal organizations of OSF,

   they share OSF’s Catholic affiliation. See Medina, 877 F.3d at 1277. See also Advocate, 137 S.

   Ct. 1659 (“[I]f A is exempt, and A includes C, then C is exempt.”) (quoting Overall, 23

   F.Supp.3d at 828).

            Based on an examination of the record and the arguments of the parties in the context of

   the Medina factors, the Court is persuaded that the church plan exemption applies to the Plans at

   issue.

                  Does the Church Plan Exemption Violate the Establishment Clause?

            Alternatively, Plaintiffs argue that the application of the church plan exemption to the

   Plans at issue violates the Establishment Clause of the First Amendment, which provides that

   “Congress shall make no law respecting an establishment of religion or prohibiting the free

   exercise thereof.” U.S. Const. Amend. 1.       Challenges under the Establishment Clause are

   analyzed based on a three part test enunciated in Lemon v. Kurtzman, 403 U.S. 602 (1971).

   Under the Lemon test, governmental action does not violate the Establishment Clause if (1) it has

   a secular purpose; (2) its principal or primary effect is one that neither advances nor inhibits

   religion; and (3) it does not foster an excessive government entanglement with religion.

   Conversely, governmental action violates of the Establishment Clause if it fails on any one of

   these three prongs. Books v. City of Elkhart, Indiana, 235 F.3d 292, 301–02 (7th Cir. 2000)

   (citing Edwards v. Aguillard, 482 U.S. 578, 583 (1987)).

            The question relevant to the “purpose” prong is whether the challenged governmental

   conduct was done “for a religious purpose, or, put differently, whether its inclusion lacks a

   secular objective.” Mayle v. United States, 891 F.3d 680, 685–86 (7th Cir. 2018) (quotation and

   citation omitted). “[H]aving just one secular purpose is sufficient to pass the Lemon test. Id.,



                                              Page 14 of 16
Case 3:16-cv-00467-SMY-RJD Document 196 Filed 09/28/18 Page 15 of 16 Page ID #5341



   citing Bridenbaugh v. O'Bannon, 185 F.3d 796, 800 (7th Cir. 1999).            The alleviation of

   significant governmental interference with the ability of religious organizations to define and

   carry out their religious missions constitutes a secular objective (See, Corp. of Presiding Bishop

   of Church of Jesus Christ of Latter-day Saints v. Amos, 483 U.S. 327, 335 (1987), and has been

   found to apply to the ERISA church plan exemption. Medina, 877 F.3d at 1231 (detailing

   factors showing this ‘secular purpose’, including the legislative histories of both the original

   church plan exemption and the 1980 expansion of its scope).

          The second question under the Lemon test is whether the church plan exemption’s

   principal or primary effect is one that neither advances nor inhibits religion. Statutes that give

   special consideration to religious groups are not per se invalid. Rather, “[f]or a law to have

   forbidden ‘effects’ under Lemon, it must be fair to say that the government itself has advanced

   religion through its own activities and influence.” Amos, 483 U.S. at 337.

          The church plan exemption is one of a number of statutes that relieve religious

   organizations from otherwise generally-applicable requirements, including the Internal Revenue

   Code, 26 U.S.C. §§ 6033(a)(3)(A)(i), (iii) (exempting “churches, their integrated auxiliaries, ...

   conventions or associations of churches,” and “the exclusively religious activities of any

   religious order” from a tax-filing requirement) and the Americans with Disabilities Act of 1990,

   42 U.S.C. § 12113(d) (exempting religious organizations from anti-discrimination requirements),

   and 42 U.S.C. § 12187 (exempting religious organizations from public accommodation

   requirements). There is no principled distinction between these exemptions and the church plan

   exemption.

          The final prong of the Lemon test involves an assessment of whether the government

   action fosters an excessive government entanglement with religion. The church exemption does



                                             Page 15 of 16
Case 3:16-cv-00467-SMY-RJD Document 196 Filed 09/28/18 Page 16 of 16 Page ID #5342



   not. Rather than entangling the government in the affairs of religious organizations, the church

   plan exemption avoids the entanglement. In other words, by exempting eligible plans from

   ERISA requirements, religious organizations and their associated entities are relieved from

   government mandates about how they conduct their affairs, structure their finances and pursue

   their missions. As such, the third prong of Lemon is satisfied, and application of the church plan

   exemption does not run afoul of the Establishment Clause.

                                               CONCLUSION

          For the foregoing reasons, Defendants’ motion for summary judgment (Doc. 147) is

   GRANTED and the case is DISMISSED with prejudice. All pending motions are DENIED as

   MOOT. The Clerk of Court is DIRECTED to enter judgment in favor of Defendants and

   against Plaintiffs and to close the case

          IT IS SO ORDERED.

          DATED: September 28, 2018
                                                        s/ Staci M. Yandle
                                                        STACI M. YANDLE
                                                        United States District Judge




                                              Page 16 of 16
